         Case 3:16-cv-03537-N Document 7 Filed 03/16/17            Page 1 of 2 PageID 26


                         IN THE UNITED STATES DISTRICT COURT
1                                      FOR THE
                             NORTHERN DISTRICT OF TEXAS
2

3    PIERRE PRUITT,                           §
                                              §
4                 Plaintiff,                  §     Civil Action No. : 3:16-cv-03537-N
                                              §
5                 v.                          §
                                              §
6                                             §
     LEXINGTON LAW FIRM,                      §
7                                             §
                  Defendant.                  §
8

9                              NOTICE OF VOLUNTARY DISMISSAL
10
     TO THE CLERK:
11
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily
12   dismisses the Complaint with prejudice.

13

14

15   Dated: March 16, 2017                    BY: /s/ Amy L. Bennecoff Ginsburg
                                              Amy L. Bennecoff Ginsburg, Esquire
16
                                              Kimmel & Silverman, P.C
                                              30 East Butler Pike
17
                                              Ambler, PA 19002
18                                            Phone: (215) 540-8888
                                              Facsimile: (215) 540-8817
19                                            Email: aginsburg@creditlaw.com
                                              Attorney for Plaintiff
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                                     PLAINTIFF’S COMPLAINT
          Case 3:16-cv-03537-N Document 7 Filed 03/16/17                Page 2 of 2 PageID 27



1                                          Certificate of Service
2
            I hereby certify that on this 16th day of March, 2017, a true and correct copy of the
3
     foregoing pleading served via mail to the below:

4    Lexington Law Firm
     360 North Cutler Drive
5    North Salt Lake UT 84054
     Phone: (800) 768-2305
6

7
                                                   /s/ Amy L. Bennecoff Ginsburg
8                                                  Amy L. Bennecoff Ginsburg, Esquire
                                                   Kimmel & Silverman, P.C
9
                                                   30 East Butler Pike
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                                                   Ambler, PA 19002
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11                                                 Facsimile: (215) 540-8817
                                                   Email: aginsburg@creditlaw.com
12                                                 Attorney for Plaintiff

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                                         PLAINTIFF’S COMPLAINT
